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Attorneys for Defendant State Farm Mutual
Automobile Insurance Company

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

THERESA LYONS,
Plaintiff,
Case No.
vs.
STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,
Defendant. NOTICE OF REMOVAL

 

 

 

 

 

TO: UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA

This notice of defendant State Farm Mutual Autoniobile lnsurance
Company respectfully Shows:

l. That on the 6th day of February, 2009, an action Was commenced in
the Superior Court for the State of Alaska at Anchorage, entitled Theresa LVons v. John
E. Longlet, Case No. 3AN-()9-4962 Civil. On February 12, 2009, plaintiff filed an

Amended Complaint in the Superior Court for the State of Alaska at Anchorage, entitled

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Case 3:09-cV-OOO72-TI\/|B Document 1 Filed 04/10/09 Page 1 of 6

 

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Theresa Lvons v. John E. Longlet and. State Farm Mutual Automobile Insurance
Comp_any, Case No. 3AN-09-4962. Defendant John E. Longlet Was dismissed With
prejudice from the referenced action on l\/Iarch 27, 2009. Plaintiff is seeking damages in
an amount greater than 3100,000.

2. That this notice of removal is being filed pursuant to Title 28, United
States Code § 1446(a) and (b) Within one (l) year after commencement of the action and
Within thirty (30) days after receipt by defendant State Farm Mutual Automobile
lnsurance Company of the order dismissing John Longlet as a party, as a result of Which
this case became removable based on diversity jurisdiction

3. Copies of all papers found by defendant State Farm Mutual
Automobile Insurance Company in the file of the Superior Court for the State of Alaska,
Third Judicial District, concerning this action are attached hereto in accordance With

Title 28, United States Code § l446(a):

Exhibit l Case Description - Superior Court, undated
EXhibit 2 l Counsel of Record form, undated

Exhibit 3 Complaint dated February 6, 2009

Exhibit 4 Summons and Notice to Both Parties of Judicial

Assignment dated February 6, 2009

Exhibit 5 Entry of Appearance filed by Defendant John E. Longlet
dated February 10, 2009

EXhibit6 Demand for Jury Trial filed by Defendant John E.
Longlet dated February 10, 2009

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Case 3:09-cV-OOO72-TI\/|B Document 1 Filed 04/10/09 Page 2 of 6

 

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Exhibit 7

EXhibit 8

Exhibit 9

Exhibit 10

EXhibit 11

Exhibit 12

EXhibit 13

EXhibit 14

Exhibit 15

Exhibit 16

Exhibit 17

EXhibit 18

Exhibit 19

§ Exhibits 1-19, attached.

Notice of Filing Plaintiff’s First Amended Complaint
dated February 12, 2009

Plaintiff’s First Amended Complaint dated February 12,
2009

Supplemental Summons lssued to John E. Longlet and
State Farm Mutual Automobile lnsurance Company
dated February 13, 2009

lnitial Pretrial Order dated February 19, 2009

Civil Rule 4(F) Affidavit dated March 6, 2009

Entry of Appearance filed by Defendant State Farm
Mutual Automobile lnsurance Company dated

March 16, 2009

Demand for Jury Trial filed by Defendant State Farm
dated March 16, 2009

AnsWer to First Amended Complaint filed by Defendant
State Farm dated March 16, 2009

Notice of Proposed Trial Dates and Expected Length of
Trial dated March 19, 2009

Routine Pretrial Order dated March 20, 2009

Stipulation for Dismissal With Prejudice (as to
defendant John Longlet) dated March 18, 2009;

Final Order for Partial Dismissal With Prejudice (as to
defendant John Longlet) dated March 26, 2009 and
distributed March 27, 2009

Notice of Removal dated April 10, 2009

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Case 3:09-cV-OOO72-TI\/|B Document 1 Filed 04/10/09 Page 3 of 6

 

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4. This court has original jurisdiction of this action pursuant to Title 28,
U.S.C. Section 1332(a), and this action may be removed to United States District Court
pursuant to Title 28, U.S.C. Section 1441 and Section 1446(b), in that it is a civil action,
the sum in controversy exceeds $75,000, exclusive of interest and costs, and complete
diversity exists between the remaining parties to this lawsuit.

On information and belief, at the time this action was commenced, Plaintiff
is a resident of Alaska as alleged in the Complaint and Amended Complaint.

At the time this action was commenced, defendant State Farm Mutual
Automobile lnsurance Company was, and is, a mutual insurance company organized
under the laws of the State of lllinois, with its principal place of business in Bloomington,
lllinois.

5. Defendant State Farm Mutual Automobile lnsurance Company will
pay all costs and disbursements incurred by reason of removal proceedings hereby
brought should it be determined that this case is not removable or is improperly removed.

WHEREFORE defendant State Farm Mutual Automobile lnsurance
Company gives notice that this action formerly pending in the Superior Court for the

State of Alaska, Third Judicial District is hereby removed to this court.

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Case 3:09-cV-OOO72-TI\/|B Document 1 Filed 04/10/09 Page 4 of 6

 

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DATED at Anchorage, Alaska, this 10th day of April, 2009.

HUGHES PFIFFNER GORSKI
SEEDORF & ODSEN, LLC,

Attorneys for Defendant State Farm
Mutual Automobile lnsurance Company

   

mberlee A. Colbo
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Facsimile No: (907) 263-8320
Email: KAC@hpglaw.net

VERIFICATION
STATE OF ALASKA )
THIRD JUDICIAL DISTRICT § SS'

Kimberlee A. Colbo, being first duly sworn, deposes and states that she is
one of the attorneys for State Farm Mutual Automobile lnsurance Company, defendant
above named; that she knows the contents of this notice of removal and that the same are
true and accurate to the best of her knowledge and belief; and that she voluntarily

executed the foregoing notice of removal and was fully authorized to do so on behalf of

State Farm Mutual Automobile lnsurance Company.

    

i berlee A. Colbo

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Case 3:09-cV-OOO72-TI\/|B Document 1 Filed 04/10/09 Page 5 of 6

 

  

SUBSCRIBED AND SWORN TO before me this 10th day of April 2009.

@@M/JM

Notary Public in and for Alaska
My commission expires: ¢- 2 ~o?J//

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lherébyt<?@!tlfy that a true and correct copy
of the foregoing was served via mail

en the 10th day oprrii, 2009 On:

Dylan C. Buchholdt
Pentlarge Law Group

1400 West Benson Blvd.7 Suite 550
Anchorage, AK 99503

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